Fill in this information to identify the case:

Debtor 1 Christopher John Standerwick

Debtor 2 Crystal Dawn Preston-Standerwick
(Spouse, if filing)


United States Bankruptcy Court for the: EASTERN                  District of MICHIGAN
                                                                           (State)

Case number 17-57688-tjt



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16


If the debtors’ plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtors’
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtors’ principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               WILMINGTON SAVINGS FUND SOCIETY,                 Court claim no. (if known)             23-1
                                FSB, D/B/A CHRISTIANA TRUST, NOT
                                INDIVIDUALLY BUT AS TRUSTEE FOR
                                HILLDALE TRUST

Last four digits of any number you                XXXXXX1008
use to identify the debtors’ account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice: August 10, 2018

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                     Dates incurred                                  Amount

1.      Late charges                                                                                                             (1)    $           0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $           0.00
                                                                                        10/6/2020, included in consent order
3.      Attorney fees                                                                   (docket # 85)                            (3)    $    (1,050.00)
                                                                                        10/6/2020, included in consent order
4.      Filing fees and court costs                                                     (docket # 85)                            (4)    $        (181.00)
5.      Bankruptcy/Proof of claim fees                                                                                           (5)    $           0.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $           0.00
7.      Property inspection fees                                                                                                 (7)    $           0.00
8.      Tax advances (non-escrow)                                                                                                (8)    $           0.00
9.      Insurance advances (non-escrow)                                                                                          (9)    $           0.00

10. Property preservation expenses. Specify:        _____________                                                                (10)   $           0.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Christopher John Standerwick                                 Case number (if known)      17-57688-tjt
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Neisi Garcia Ramirez                                                         Date        12/8/2020
                 Signature

Print:           Neisi                                              Garcia Ramirez               Title       Authorized Agent
                 First Name                    Middle Name          Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                             GA              30076
                 City                                State           ZIP Code

Contact phone            954-332-9426                                    Email       Neisi.GarciaRamirez@mccalla.c
                                                                                     om




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN


In re:                                                                   )
                                                                         )      Case No. 17-57688-tjt
Christopher John Standerwick                                             )      Chapter 13
Crystal Dawn Preston-Standerwick                                         )
                                                                                JUDGE: THOMAS J. TUCKER
                                                                         )

                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Attorney Fees                                                                                                                      $1,050.00

             10/06/2020                                         Preparation of Motion for Relief                   $1,050.00

Filing Fees and Court Costs                                                                                                          $181.00

             10/06/2020                                         Filing of Motion for Relief                              $181.00



 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                  $1,231.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1




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B 10 (Supplement 2) (12/11)                             Case:                                             Page 4



                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF MICHIGAN


                                                                Bankruptcy Case No.:   17-57688-tjt
 In Re:      Christopher John Standerwick                       Chapter:               13
             Crystal Dawn Preston-Standerwick
                                                                Judge:                 Thomas J. Tucker



                                          CERTIFICATE OF SERVICE

       I, Neisi Garcia Ramirez, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following
parties at the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Christopher John Standerwick
3470 Yardly Ct.
Sterling Heights, MI 48310

Crystal Dawn Preston-Standerwick
3470 Yardly Ct.
Sterling Heights, MI 48310

Toni Valchanov                                      (served via ECF Notification)
Frego & Associates
23843 Joy Road
Dearborn Heights, MI 48127

Tammy L. Terry                                      (served via ECF Notification)
Buhl Building
535 Griswold
Suite 2100
Detroit, MI 48226

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:            12/8/2020         By:   /s/Neisi Garcia Ramirez
                          (date)                Neisi Garcia Ramirez
                                                Authorized Agent for WILMINGTON SAVINGS FUND
                                                SOCIETY, FSB, D/B/A CHRISTIANA TRUST, NOT
                                                INDIVIDUALLY BUT AS TRUSTEE FOR HILLDALE
                                                TRUST




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